                         Case 05-45880 Document 1 Filed in TXSB on 09/29/05 Page 1 of 43
(Official Form 1)(12/03)
  FORM B1                                 UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF TEXAS                                                                               Voluntary Petition
                                                 HOUSTON DIVISION
Name of Debtor (if individual, enter Last, First Middle):                                       Name of Joint Debtor (Spouse) (if individual, enter Last, First Middle):
Mickelson, Heather Jean                                                                         None

All Other Names used by the Debtor in the last 6 years                                          All Other Names used by the Joint Debtor in the last 6 years
(include married, maiden, and trade names):                                                     (include married, maiden, and trade names):
fdba Electronic Commerce Global




Last four digits of Soc. Sec. No. / Complete EIN or other Tax I.D. No (if more than             Last four digits of Soc. Sec. No. / Complete EIN or other Tax I.D. No (if more than
one, state all):                                                                                one, state all):
xxx-xx-5514
Street Address of Debtor (No. and Street, City, State and Zip Code):                            Street Address of Joint Debtor (No. and Street, City, State and Zip Code):
20807 Patriot Park Lane
Katy, TX 77449


County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
Harris
Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):
20807 Patriot Park Lane
Katy, TX 77449


Location of Principal Assets of Business Debtor (if different from street address above):
N/A


                                           Information Regarding the Debtor (Check the Applicable Boxes)
 Venue      (Check any applicable box)
 þ Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
      preceding the date of this petition or for a longer part of such 180 days than in any other District.
 ¨ There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Type of Debtor (Check all boxes that apply)                                        Chapter or Section of Bankruptcy Code Under Which
                                                                                                               the Petition is Filed (Check one box)
 þ Individual(s)                   ¨ Railroad
 ¨ Corporation                     ¨ Stockbroker                                                þ Chapter 7            ¨ Chapter 11                ¨ Chapter 13
 ¨ Partnership                     ¨ Commodity Broker                                           ¨ Chapter 9            ¨ Chapter 12
 ¨ Other__________________________ ¨ Clearing Bank                                              ¨ Section 304 - Case ancillary to foreign proceeding
                      Nature of Debts (Check one box)                                                                 Filing Fee (Check one box)
 þ Consumer/Non-Business                               ¨ Business                               þ Full Filing Fee attached
     Chapter 11 Small Business (Check all boxes that apply)                                     ¨ Filing Fee to be paid in installments (Applicable to individuals only)
 ¨ Debtor is a small business as defined by 11 U.S.C. Sec. 101.                                       Must attach signed application for the court's consideration
 ¨ Debtor is & elects to be considered a small business under                                         certifying that the debtor is unable to pay fee except in installments.
   11 U.S.C. § 1121(e) (Optional)                                                                     Rule 1006(b). See Official Form 3.
 Statistical/Administrative Information                  (Estimates only)                                                                THIS SPACE IS FOR COURT USE ONLY

 ¨ Debtor estimates that funds will be available for distribution to unsecured creditors.
 þ Debtor estimates that, after any exempt property is excluded and administrative expenses are paid,
   there will be no funds available for distribution to unsecured creditors.
                                                  1-15           16-49       50-99          100-199     200-999       1000-Over
 Estimated Number of Creditors
                                                   ¨             þ            ¨               ¨            ¨              ¨
 Estimated Assets
   $0 to         $50,001 to       $100,001 to      $500,001 to      1,000,001 to   $10,000,001 to $50,000,001 to More than
  $50,000         $100,000         $500,000         $1 million       $10 million     $50 million   $100 million  $100 million
   ¨                 ¨                þ                  ¨               ¨              ¨                 ¨                ¨
 Estimated Debts
   $0 to         $50,001 to       $100,001 to      $500,001 to      1,000,001 to   $10,000,001 to $50,000,001 to More than
  $50,000         $100,000         $500,000         $1 million       $10 million     $50 million   $100 million  $100 million
   ¨                 ¨                þ                  ¨               ¨              ¨                 ¨                ¨
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2005 (Build 7.0.1.148, ID 0588131602)
                          Case 05-45880 Document 1 Filed in TXSB on 09/29/05 Page 2 of 43
(Official Form 1)(12/03)                                                                                                                                             FORM B1, Page 2
 Voluntary Petition (page 2)                                                                 Name of Debtor(s):    Heather Jean Mickelson
 (This page must be completed and filed in every case)
                             Prior Bankruptcy Case(s) Filed Within Last 6 Years (If more than two, attach additional sheet)
Location Where Filed:                                                                        Case Number:                                   Date Filed:
 None
Location Where Filed:                                                                        Case Number:                                   Date Filed:


        Pending Bankruptcy Case(s) Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                                              Case Number:                                   Date Filed:
 None
District:                                                                                    Relationship:                                  Judge:


                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                                           Exhibit A
 I declare under penalty of perjury that the information provided in this petition is        (To be completed if debtor is required to file periodic reports (e.g., forms 10K and
 true and correct.                                                                           10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
 [If petitioner is an individual whose debts are primarily consumer debts and has            of the Securities Exchange Act of 1934 and is requesting relief under chapter 11)
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under           ¨ Exhibit A is attached and made a part of this petition.
 each such chapter, and choose to proceed under chapter 7.
                                                                                                                                    Exhibit B
 I request relief in accordance with the chapter of title 11, United States Code,
                                                                                             (To be completed if debtor is an individual whose debts are primarily consumer
 specified in this petition.
                                                                                             debts) I, the attorney for the petitioner named in the foregoing petition, declare
                                                                                             that I have informed the petitioner named in the foregoing petition that [he or she]

 X /s/ Heather Jean Mickelson                                                                may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, and
                                                                                             have explained the relief available under each such chapter.
       Heather Jean Mickelson

 X                                                                                           X /s/ David W. Barry
                                                                                                  David W. Barry                                                          Date
                                                                                                                                    Exhibit C
     Telephone Number (If not represented by an attorney)
                                                                                             Does the debtor own or have possession of any property that poses or is alleged to
                                                                                             pose a threat of imminent and identifiable harm to public health or safety?
     Date
                              Signature of Attorney                                            ¨ Yes, and Exhibit C is attached and made a part of this petition.
                                                                                               þ No
 X /s/ David W. Barry                                                                                        Signature of Non-Attorney Petition Preparer
       David W. Barry                                  Bar No. 01835200                       I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110,
     dwbarry@swbell.net                                                                       that I prepared this document for compensation, and that I have provided the
                                                                                              debtor with a copy of this document.
 Law Office of David W. Barry
 4151 Southwest Frwy #770
 Houston, TX 77027
                                                                                                 Printed Name of Bankruptcy Petition Preparer

          (713) 960-9696
 Phone No.______________________        (713) 961-4403
                                 Fax No.______________________
                                                                                                 Social Security Number

     Date
                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of            Address
 the debtor.
                                                                                              Names and Social Security numbers of all other individuals who prepared or
                                                                                              assisted in preparing this document:
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.

                                                                                              If more than one person prepared this document, attach additional sheets
                                                                                              conforming to the appropriate official form for each person.

 X
                                                                                             X
                                                                                                 Signature of Bankruptcy Petition Preparer
     Printed Name of Authorized Individual

                                                                                                 Date
     Title of Authorized Individual
                                                                                              A bankruptcy petition preparer's failure to comply with the provisions of title 11
                                                                                              and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                              imprisonment or both (11 U.S.C. § 110; 18 U.S.C. § 156).
   Date
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                                         UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF TEXAS
                                                 HOUSTON DIVISION
 IN RE:   Heather Jean Mickelson                                           CASE NO

                                                                           CHAPTER                      7


                                           SCHEDULE A (REAL PROPERTY)


                                                                                                        Current Market




                                                                                 Husband, Wife, Joint
                                                                                                        Value Of Debtor's
                                                             Nature Of




                                                                                   Or Community
                                                                                                        Interest In
 Description And Location Of Property                        Debtor's
                                                                                                        Property, Without    Amount Of
                                                             Interest In                                                    Secured Claim
                                                                                                        Deducting Any
                                                             Property
                                                                                                        Secured Claim Or
                                                                                                        Exemption


3311 Yupon, Unit 410, Houston, Texas 77006              Condominium                 -                       $185,000.00        $236,967.00
Unit 410 and the space encompassed by the
boundaries thereof, the limited common elements
appurtenant thereto, together with an undivided
interest in the general common elements located in
and part of Tremont Tower, a condominium project
in Harris County, Texas, as fully described in and as
located, delineated and as defined in the
condominium Declaration for Tremont Tower,
together with the survey plat, By-Laws and Exhibits
attached thereto, recorded in Volume 189, Page
172 et seq., of the condominium records of Harris
County, Texas.




                                                                              Total:                        $185,000.00
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                                           UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF TEXAS
                                                   HOUSTON DIVISION
  IN RE:    Heather Jean Mickelson                                                           CASE NO

                                                                                           CHAPTER       7

                                          SCHEDULE B (PERSONAL PROPERTY)




                                                                                                                    Husband, Wife, Joint
                                                                                                                                           Current Market




                                                                                                                      or Community
                                                                                                                                           Value of Debtor's
                                                                                                                                           Interest in
                                          None                                                                                             Property, Without
            Type of Property                                   Description and Location of Property                                        Deducting any
                                                                                                                                           Secured Claim or
                                                                                                                                           Exemption

1. Cash on hand.                                 currency (see attached Exhibit "A")                                      -                           $80.00


2. Checking, savings or other finan-             Woodforest National Bank account(s) (see attached Exhibit                -                           $40.00
cial accounts, certificates of deposit,          "A")
or shares in banks, savings and loan,
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings               household furniture, accessories, tools, pets (see attached              -                          $430.00
including audio, video and computer              Exhibit "A")
equipment.

5. Books; pictures and other art                 collectibles, books, pictures/photos (see attached Exhibit               -                           $15.00
objects; antiques; stamp, coin,                  "A")
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                              clothing and effects (see attached Exhibit "A")                          -                          $250.00


7. Furs and jewelry.                             jewelry (see attached Exhibit "A")                                       -                           $15.00


8. Firearms and sports, photo-                   sporting goods (see attached Exhibit "A")                                -                           $15.00
graphic, and other hobby equipment.

9. Interests in insurance policies.       X
Name insurance company of each
policy and itemize surrender or
refund value of each.




                                                                                                               Total >                               $845.00
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                                            UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION
  IN RE:    Heather Jean Mickelson                                                          CASE NO

                                                                                           CHAPTER     7

                                           SCHEDULE B (PERSONAL PROPERTY)
                                                            Continuation Sheet No. 1




                                                                                                                Husband, Wife, Joint
                                                                                                                                       Current Market




                                                                                                                  or Community
                                                                                                                                       Value of Debtor's
                                                                                                                                       Interest in
                                           None                                                                                        Property, Without
            Type of Property                                    Description and Location of Property                                   Deducting any
                                                                                                                                       Secured Claim or
                                                                                                                                       Exemption


10. Annuities. Itemize and name            X
each issuer.

11. Interests in IRA, ERISA, Keogh,               401(k) plan benefits (see attached Exhibit "A")                     -                          $800.00
or other pension or profit sharing
plans. Itemize.

12. Stock and interests in incorpo-        X
rated and unincorporated businesses.
Itemize.

13. Interests in partnerships or joint     X
ventures. Itemize.

14. Government and corporate bonds         X
and other negotiable and non-
negotiable instruments.

15. Accounts receivable.                   X

16. Alimony, maintenance, support,         X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

17. Other liquidated debts owing           X
debtor including tax refunds. Give
particulars.

18. Equitable or future interests, life    X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule of Real
Property.




                                                                                                           Total >                             $1,645.00
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                                          UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF TEXAS
                                                  HOUSTON DIVISION
  IN RE:   Heather Jean Mickelson                                                       CASE NO

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                                         SCHEDULE B (PERSONAL PROPERTY)
                                                          Continuation Sheet No. 2




                                                                                                                Husband, Wife, Joint
                                                                                                                                       Current Market




                                                                                                                  or Community
                                                                                                                                       Value of Debtor's
                                                                                                                                       Interest in
                                         None                                                                                          Property, Without
           Type of Property                                   Description and Location of Property                                     Deducting any
                                                                                                                                       Secured Claim or
                                                                                                                                       Exemption


19. Contingent and noncontingent         X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

20. Other contingent and unliqui-               potential claims against (Aurora Loan Company, First                  -                       $10,000.00
dated claims of every nature,                   Texas Residential, Doug Brown, Bennie Kane, Jorege
including tax refunds, counterclaims            Casimavo, Tremont Towers LP, & Tremont HOA) for loan
of the debtor, and rights to setoff             fraud/misrepresentation and against builder for defects.
claims. Give estimated value of each.

21. Patents, copyrights, and other       X
intellectual property. Give
particulars.

22. Licenses, franchises, and other      X
general intangibles. Give particulars.

23. Automobiles, trucks, trailers,              1984 BMW 533i sedan                                                   -                        $1,650.00
and other vehicles and accessories.

24. Boats, motors, and accessories.      X

25. Aircraft and accessories.            X

26. Office equipment, furnishings,       X
and supplies.

27. Machinery, fixtures, equipment,      X
and supplies used in business.

28. Inventory.                           X

29. Animals.                             X

30. Crops - growing or harvested.        X
Give particulars.



                                                                                                           Total >                            $13,295.00
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                                      UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION
  IN RE:   Heather Jean Mickelson                                          CASE NO

                                                                           CHAPTER      7

                                     SCHEDULE B (PERSONAL PROPERTY)
                                              Continuation Sheet No. 3




                                                                                                 Husband, Wife, Joint
                                                                                                                        Current Market




                                                                                                   or Community
                                                                                                                        Value of Debtor's
                                                                                                                        Interest in
                                     None                                                                               Property, Without
           Type of Property                      Description and Location of Property                                   Deducting any
                                                                                                                        Secured Claim or
                                                                                                                        Exemption


31. Farming equipment and            X
implements.

32. Farm supplies, chemicals, and    X
feed.

33. Other personal property of any   X
kind not already listed. Itemize.




                                                                                            Total >                            $13,295.00
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                                            UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION
  IN RE:   Heather Jean Mickelson                                                               CASE NO

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                                 SCHEDULE C (PROPERTY CLAIMED AS EXEMPT)

Debtor elects the exemptions to which debtor is entitled under: (Check one box)

 þ 11 U.S.C. Sec. 522(b)(1): Exemptions provided in 11 U.S.C. Sec. 522(d). Note: These exemptions are available only in certain states.
 ¨ 11 U.S.C. Sec. 522(b)(2): Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's
                               domicile has been located for the 180 days immediately preceding the filing of the petition, or for a longer
                               portion of the 180-day period than in any other place, and the debtor's interest as a tenant by the entirety
                               or joint tenant to the extent the interest is exempt from process under applicable nonbankruptcy law.




                                                                                                                                   Current Market
                                                                                                                                   Value of Property
                                                            Specify Law Providing Each                   Value of Claimed
      Description of Property                                                                                                      Without Deducting
                                                            Exemption                                    Exemption
                                                                                                                                   Exemption



currency (see attached Exhibit "A")                     11 U.S.C. § 522(d)(5)                                           $80.00                   $80.00

Woodforest National Bank account(s) (see                11 U.S.C. § 522(d)(5)                                           $40.00                   $40.00
attached Exhibit "A")

household furniture, accessories, tools, pets           11 U.S.C. § 522(d)(3)                                         $430.00                   $430.00
(see attached Exhibit "A")

collectibles, books, pictures/photos (see               11 U.S.C. § 522(d)(3)                                           $15.00                   $15.00
attached Exhibit "A")

clothing and effects (see attached Exhibit "A")         11 U.S.C. § 522(d)(3)                                         $250.00                   $250.00

jewelry (see attached Exhibit "A")                      11 U.S.C. § 522(d)(4)                                           $15.00                   $15.00

sporting goods (see attached Exhibit "A")               11 U.S.C. § 522(d)(3)                                           $15.00                   $15.00

401(k) plan benefits (see attached Exhibit "A")         11 U.S.C. § 522(d)(10)                                        $800.00                   $800.00

potential claims against (Aurora Loan                   11 U.S.C. § 522(d)(5)                                      $10,000.00                 $10,000.00
Company, First Texas Residential, Doug
Brown, Bennie Kane, Jorege Casimavo,
Tremont Towers LP, & Tremont HOA) for loan
fraud/misrepresentation and against builder for
defects.

1984 BMW 533i sedan                                     11 U.S.C. § 522(d)(2)                                       $1,650.00                  $1,650.00




                                                                                                                   $13,295.00                 $13,295.00
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                                   UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION
 IN RE:   Heather Jean Mickelson                                         CASE NO

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                                     TOTALS BY EXEMPTION LAW


Exemption Law                       Husband     Wife       Joint       Community     N/A           Exemption     Market
                                                                                                     Total       Value
                                                                                                                  Total

11 U.S.C. § 522(d)(10)                  $0.00      $0.00       $0.00        $0.00        $800.00      $800.00      $800.00
11 U.S.C. § 522(d)(2)                   $0.00      $0.00       $0.00        $0.00    $1,650.00       $1,650.00    $1,650.00
11 U.S.C. § 522(d)(3)                   $0.00      $0.00       $0.00        $0.00        $710.00      $710.00      $710.00
11 U.S.C. § 522(d)(4)                   $0.00      $0.00       $0.00        $0.00         $15.00       $15.00       $15.00
11 U.S.C. § 522(d)(5)                   $0.00      $0.00       $0.00        $0.00   $10,120.00      $10,120.00   $10,120.00
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  IN RE:   Heather Jean Mickelson                                                                                       CASE NO
                                                                                                                                          (If Known)
                                                                                                                        CHAPTER    7

                            SCHEDULE D (CREDITORS HOLDING SECURED CLAIMS)

                        ¨ Check this box if debtor has no creditors holding secured claims to report on Schedule D.




                                                          HUSBAND, WIFE, JOINT
                                                                                                                                               AMOUNT OF




                                                                                                                                UNLIQUIDATED
                                                                                 DATE CLAIM WAS INCURRED,




                                                                                                                                 CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR
                                                                                                                                               CLAIM




                                                                                                                                  DISPUTED
CREDITOR'S NAME AND MAILING ADDRESS
                                                                                 NATURE OF LIEN, AND                                                                UNSECURED
                                                                                                                                               WITHOUT
         INCLUDING ZIP CODE                                                      DESCRIPTION AND MARKET                                                             PORTION, IF
                                                                                                                                               DEDUCTING
                                                                                 VALUE OF PROPERTY SUBJECT                                                          ANY
                                                                                                                                               VALUE OF
                                                                                 TO LIEN
                                                                                                                                               COLLATERAL

                                                                                 DATE INCURRED:      07/30/2004
ACCT #: 3640016823148                                                            NATURE OF LIEN:
                                                                                 Purchase Money (first lien)
Aurora Loan Services                                                             COLLATERAL:
                                                                                 condominium                                                       $186,474.00           $1,474.00
601 5th Ave                                                    -                 REMARKS:
Scottsbluff, NE 69361



                                                                                 COLLATERAL VALUE:             $185,000.00
                                                                                 DATE INCURRED:      07/30/2004
ACCT #: 3640016879694                                                            NATURE OF LIEN:
                                                                                 Purchase Money (second lien0
Aurora Loan Services                                                             COLLATERAL:
                                                                                 condominium                                                           $46,493.00
601 5th Ave                                                    -                 REMARKS:
Scottsbluff, NE 69361



                                                                                 COLLATERAL VALUE:             $185,000.00
                                                                                 DATE INCURRED:      2005
ACCT #: 1255950000029                                                            NATURE OF LIEN:
                                                                                 Property Tax
Harris County Tax Assessor                                                       COLLATERAL:
                                                                                 condominium                                                            $2,000.00
P.O. Box 3547                                                  -                 REMARKS:
Houston, TX 77002



                                                                                 COLLATERAL VALUE:             $185,000.00
                                                                                 DATE INCURRED:      2005
ACCT #: 1255950000029                                                            NATURE OF LIEN:
                                                                                 Property Tax
Houston I.S.D. Tax Office                                                        COLLATERAL:
                                                                                 condominium                                                            $2,000.00
Tanya F. Erickson, Assessor/Collector                          -                 REMARKS:
P.O. Box 4668
Houston, TX 77210-4668


                                                                                 COLLATERAL VALUE:             $185,000.00



Representing:                                                                    Linebarger, Goggan, Blair Et Al                                  Notice Only          Notice Only
Houston I.S.D. Tax Office                                                        P.O. Box 3064
                                                                                 Houston, TX 77253-3064




                                                                                                       Total for this Page (Subtotal) >            $236,967.00           $1,474.00
________________continuation
       No                    sheets attached
                                                                                                                      Running Total >              $236,967.00           $1,474.00
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                                              UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF TEXAS
                                                      HOUSTON DIVISION
   IN RE:    Heather Jean Mickelson                                                               CASE NO

                                                                                                 CHAPTER          7

                  SCHEDULE E (CREDITORS HOLDING UNSECURED PRIORITY CLAIMS)


              þ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

 TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


¨ Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. Sec. 507(a)(2).

¨ Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided by 11 U.S.C. Sec. 507(a)(3), as amended by § 1401 of
    Pub. L. 109-8.


¨ Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. Sec. 507(a)(4).


¨ Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. Sec. 507(a)(5).



¨ Deposits by individuals
    Claims of individuals up to $2,225* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. Sec. 507(a)(6).


¨ Alimony, Maintenance, or Support
    Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in 11 U.S.C. Sec.
    507(a)(7).

¨ Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local government units as set forth in 11 U.S.C. Sec. 507(a)(8).



¨ Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    Sec. 507(a)(9).

¨ Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. Secs. 326, 328, 329 and 330.



* Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




 ________________continuation
        No                    sheets attached
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 IN RE:   Heather Jean Mickelson                                                                                 CASE NO
                                                                                                                                (If Known)
                                                                                                                 CHAPTER   7

                SCHEDULE F (CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS)

                  ¨ Check this box if debtor has no creditors holding unsecured nonpriority claims to report on Schedule F.




                                                            HUSBAND, WIFE, JOINT




                                                                                                                                           UNLIQUIDATED
                                                                                                                                            CONTINGENT
                                                              OR COMMUNITY
                                                 CODEBTOR




                                                                                                                                             DISPUTED
 CREDITOR'S NAME AND MAILING ADDRESS                                                DATE CLAIM WAS INCURRED AND
                                                                                    CONSIDERATION FOR CLAIM. IF CLAIM                                     AMOUNT OF CLAIM
         INCLUDING ZIP CODE
                                                                                    IS SUBJECT TO SETOFF, SO STATE.



ACCT #: 4427-1030-0053-1409                                                        DATE INCURRED:   01/08/2001
                                                                                   CONSIDERATION:
Bank of America                                                                    Unsecured Debt                                                               $11,473.00
Bankruptcy Department                                                              REMARKS:
                                                                -
Dept. 4525
P.O. Box 53105
Phoenix, AZ 85072-3105
ACCT #: 3475175046                                                                 DATE INCURRED:
                                                                                   CONSIDERATION:
Bank of America                                                                    Unsecured Debt                                                                 $200.00
Bankruptcy Department                                                              REMARKS:
                                                                -
Dept. 4525
P.O. Box 53105
Phoenix, AZ 85072-3105
ACCT #: 4417-1211-7247-9035                                                        DATE INCURRED:   12/26/2001
                                                                                   CONSIDERATION:
Chase                                                                              Unsecured Debt                                                                $5,879.00
800 Brooksedge Blvd                                                                REMARKS:
                                                                -
Westerville, OH 43081



ACCT #: 2817991325; 8324654645                                                     DATE INCURRED:
                                                                                   CONSIDERATION:
Cingular Wireless                                                                  Unsecured Debt                                                                 $140.86
P O Box 650574                                                                     REMARKS:
                                                                -
Dallas, TX 75265-0574



ACCT #: 6032590271444506                                                           DATE INCURRED:   06/02/2003
                                                                                   CONSIDERATION:
Citifinancial                                                                      Unsecured Debt                                                                $1,332.00
Bankruptcy Department                                                              REMARKS:
                                                                -
1111 North Point Drive
Building 4, Suite 100
Coppell, TX 75019
ACCT #: 5178-0072-9102-4347                                                        DATE INCURRED:   02/24/2005
                                                                                   CONSIDERATION:
First Premier Bank                                                                 Unsecured Debt                                                                 $330.00
601 S Minnesota Ave                                                                REMARKS:
                                                                -
Sioux Falls, SD 57104



ACCT #: 267632                                                                     DATE INCURRED:
                                                                                   CONSIDERATION:
GEXA Energy                                                                        Unsecured Debt                                                                 $400.00
20 Greenway Plaza #600                                                             REMARKS:
                                                                -
Houston, Texas



                                                                                                        Total for this Page (Subtotal) >                         $19,754.86
________________continuation
       3                     sheets attached
                                                                                                                       Running Total >                           $19,754.86
                 Case 05-45880 Document 1 Filed in TXSB on 09/29/05 Page 13 of 43
  IN RE:   Heather Jean Mickelson                                                                      CASE NO
                                                                                                                      (If Known)
                                                                                                       CHAPTER   7

                 SCHEDULE F (CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS)
                                                            Continuation Sheet No. 1




                                                  HUSBAND, WIFE, JOINT




                                                                                                                                 UNLIQUIDATED
                                                                                                                                  CONTINGENT
                                                    OR COMMUNITY
                                       CODEBTOR




                                                                                                                                   DISPUTED
 CREDITOR'S NAME AND MAILING ADDRESS                                      DATE CLAIM WAS INCURRED AND
                                                                          CONSIDERATION FOR CLAIM. IF CLAIM                                     AMOUNT OF CLAIM
         INCLUDING ZIP CODE
                                                                          IS SUBJECT TO SETOFF, SO STATE.



ACCT #: 3052-609127                                                      DATE INCURRED:
                                                                         CONSIDERATION:
Hilti, Inc.                                                              Unsecured Debt                                                                    $1.00
P.O. Box 21148                                                           REMARKS:
                                                      -
Tulsa, OK 74121



ACCT #: MIHE8015                                                         DATE INCURRED:
                                                                         CONSIDERATION:
Houston Medical Diagnostics                                              Unsecured Debt                                                                $1,950.00
7227 Fannin, Suite 102                                                   REMARKS:
                                                      -
Houston, TX 77030



ACCT #: 5489-5551-1183-0735                                              DATE INCURRED:   02/20/2005
                                                                         CONSIDERATION:
HSBC NV / Orchard Bank                                                   Unsecured Debt                                                                  $292.00
Bankcard Services                                                        REMARKS:
                                                      -
P.O. Box 80084
Salinas, CA 93912-0084

ACCT #: 74974389381226                                                   DATE INCURRED:   09/17/2004
                                                                         CONSIDERATION:
MBNA                                                                     Unsecured Debt                                                               $10,471.00
P.O. Box 15026                                                           REMARKS:
                                                      -
Wilmington, DE 19850-5026



ACCT #: client 9526; unit 04178                                          DATE INCURRED:
                                                                         CONSIDERATION:
PHH Arval / DL Peterson Trust                                            Unsecured Debt                                                                  $112.50
Title Administration                                                     REMARKS:
                                                      -
940 Ridgebrook Road
Sparks, MD 21152-9390



Representing:                                                            Harris County Toll Road Authority                                           Notice Only
PHH Arval / DL Peterson Trust                                            330 Meadowfern, Suite 200
                                                                         Houston TX 77067-3295



ACCT #: 7137288221                                                       DATE INCURRED:
                                                                         CONSIDERATION:
Southwestern Bell/SBC                                                    Unsecured Debt                                                                  $150.00
Bankruptcy Services                                                      REMARKS:
                                                      -
P.O. Box 769
Arlington, TX 76004


                                                                                              Total for this Page (Subtotal) >                         $12,976.50
                                                                                                             Running Total >                           $32,731.36
                Case 05-45880 Document 1 Filed in TXSB on 09/29/05 Page 14 of 43
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                                                                                                                      (If Known)
                                                                                                        CHAPTER   7

                SCHEDULE F (CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS)
                                                            Continuation Sheet No. 2




                                                  HUSBAND, WIFE, JOINT




                                                                                                                                UNLIQUIDATED
                                                                                                                                 CONTINGENT
                                                    OR COMMUNITY
                                       CODEBTOR




                                                                                                                                  DISPUTED
 CREDITOR'S NAME AND MAILING ADDRESS                                      DATE CLAIM WAS INCURRED AND
                                                                          CONSIDERATION FOR CLAIM. IF CLAIM                                    AMOUNT OF CLAIM
         INCLUDING ZIP CODE
                                                                          IS SUBJECT TO SETOFF, SO STATE.




Representing:                                                            Money Control, Inc.                                                        Notice Only
Southwestern Bell/SBC                                                    7891 Mission Grove Parkway South
                                                                         Riverside, CA 92508



ACCT #: 0551334426 2                                                     DATE INCURRED:
                                                                         CONSIDERATION:
Sprint PCS Customer Solutions                                            Unsecured Debt                                                                 $223.58
P O Box 8077                                                             REMARKS:
                                                      -
London, KY 40742                                                         832 545 5252



ACCT #: 0551334426 2                                                     DATE INCURRED:
                                                                         CONSIDERATION:
Sprint PCS Customer Solutions                                            Unsecured Debt                                                                  $33.17
P O Box 8077                                                             REMARKS:
                                                      -
London, KY 40742



ACCT #: 8326406096                                                       DATE INCURRED:
                                                                         CONSIDERATION:
T-Mobile, Bankruptcy                                                     Unsecured Debt                                                                 $955.75
P O Box 37380                                                            REMARKS:
                                                      -
Albuquerque, NM 87176



ACCT #: 295916, 20704816A13220043225                                     DATE INCURRED:
                                                                         CONSIDERATION:
Texas Department of Public Safety                                        Unsecured Debt                                                               $1,040.00
5805 North Lamar Boulevard                                               REMARKS:
                                                      -
Box 4087
Austin, TX 78773-0001

ACCT #: Unit 410                                                         DATE INCURRED:
                                                                         CONSIDERATION:
The Tremont Tower                                                        Unsecured Debt                                                                   $1.00
Condominium Association, Inc.                                            REMARKS:
                                                      -
2323 South Shepherd, Suite 1160
Houston, TX 77019-7028



Representing:                                                            Association Management, Inc.                                               Notice Only
The Tremont Tower                                                        9575 Katy Freeway, Suite 130
                                                                         Houston, TX 77024-1453




                                                                                             Total for this Page (Subtotal) >                          $2,253.50
                                                                                                            Running Total >                           $34,984.86
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                                                                                                                        (If Known)
                                                                                                        CHAPTER     7

                SCHEDULE F (CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS)
                                                            Continuation Sheet No. 3




                                                  HUSBAND, WIFE, JOINT




                                                                                                                                  UNLIQUIDATED
                                                                                                                                   CONTINGENT
                                                    OR COMMUNITY
                                       CODEBTOR




                                                                                                                                    DISPUTED
 CREDITOR'S NAME AND MAILING ADDRESS                                      DATE CLAIM WAS INCURRED AND
                                                                          CONSIDERATION FOR CLAIM. IF CLAIM                                      AMOUNT OF CLAIM
         INCLUDING ZIP CODE
                                                                          IS SUBJECT TO SETOFF, SO STATE.




Representing:                                                            Beverly Kaufman                                                              Notice Only
The Tremont Tower                                                        Clerk of Harris County
                                                                         301 Fannin, 1st Floor
                                                                         Houston, TX 77002



Representing:                                                            Tremont Tower, L.P.                                                          Notice Only
The Tremont Tower                                                        2323 South Shepherd, Suite 1160
                                                                         Houston, TX 77019-7028




Representing:                                                            William S. Chesney III, Esq.                                                 Notice Only
The Tremont Tower                                                        Frank Elmore Lievens
                                                                         Chesney & Turet, L.L.P.
                                                                         808 Travis, Suite 2600
                                                                         Houston, TX 77002-5778

ACCT #: 811115 801 0153372                                               DATE INCURRED:
                                                                         CONSIDERATION:
Time Warner Communications                                               Unsecured Debt                                                                   $461.46
8400 West Tidwell                                                        REMARKS:
                                                      -
Houston, TX 77040-5568




Representing:                                                            Credit Management, L.P.                                                      Notice Only
Time Warner Communications                                               4200 International Parkway
                                                                         Carrollton, TX 75007-1906



ACCT #: 3898761; 009300000654711                                         DATE INCURRED:
                                                                         CONSIDERATION:
Washington Mutual                                                        Unsecured Debt                                                                   $205.06
P.O. Box 60800                                                           REMARKS:
                                                      -
Los Angeles, CA 90060-0800




Representing:                                                            E R Solutions, Inc.                                                          Notice Only
Washington Mutual                                                        500 SW 7th Street, Suite A-100
                                                                         P.O. Box 9004
                                                                         Renton, WA 98057


                                                                                               Total for this Page (Subtotal) >                            $666.52
                                                                                                              Running Total >                           $35,651.38
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                                      UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION
IN RE:   Heather Jean Mickelson                                             CASE NO

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               SCHEDULE G (EXECUTORY CONTRACTS AND UNEXPIRED LEASES)

          þ Check this box if debtor has no executory contracts or unexpired leases.


                                                              DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                              INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
         NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,        PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
            OF OTHER PARTIES TO LEASE OR CONTRACT             CONTRACT.
              Case 05-45880 Document 1 Filed in TXSB on 09/29/05 Page 17 of 43
                                  UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION
IN RE:   Heather Jean Mickelson                             CASE NO

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                                       SCHEDULE H (CODEBTORS)

          þ Check this box if debtor has no codebtors.


              NAME AND ADDRESS OF CODEBTOR                      NAME AND ADDRESS OF CREDITOR
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                                               UNITED STATES BANKRUPTCY COURT
                                                  SOUTHERN DISTRICT OF TEXAS
                                                       HOUSTON DIVISION
    IN RE:    Heather Jean Mickelson                                                              CASE NO

                                                                                                 CHAPTER         7

                          SCHEDULE I (CURRENT INCOME OF INDIVIDUAL DEBTOR(S))

     Debtor's Marital                              Dependents of Debtor and Spouse (Names, Ages and Relationships)
         Status                Name                        Age Relationship       Name                     Age Relationship

          Single




   Employment                    Debtor                                                       Spouse
   Occupation                  Administrative
   Name of Employer            Freida & Goldman
   How Long Employed           1 month
   Address of Employer
                               Houston, TX

Income: (Estimate of average monthly income)                                                                       DEBTOR                     SPOUSE
Current monthly gross wages, salary, and commissions (prorate if not paid monthly)                                $2,200.00
Estimated monthly overtime                                                                                            $0.00
SUBTOTAL                                                                                                          $2,200.00
LESS PAYROLL DEDUCTIONS
    A. Payroll taxes (includes social security tax if B. is zero)                                                    $300.00
    B. Social Security Tax                                                                                             $0.00
    C. Medicare                                                                                                        $0.00
    D. Insurance                                                                                                       $0.00
    E. Union dues                                                                                                      $0.00
    F. Retirement                                                                                                      $0.00
    G. Other (specify)                                                                                                 $0.00
    H. Other (specify)                                                                                                 $0.00
    I. Other (specify)                                                                                                 $0.00
    J. Other (specify)                                                                                                 $0.00
    K. Other (specify)                                                                                                 $0.00
    SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                   $300.00
TOTAL NET MONTHLY TAKE HOME PAY                                                                                   $1,900.00
Regular income from operation of business or profession or farm (attach detailed stmt)                                 $0.00
Income from real property                                                                                              $0.00
Interest and dividends                                                                                                 $0.00
Alimony, maintenance or support payments payable to debtor for the debtor's use or                                     $0.00
   that of the dependents listed above
Social Security or other government assistance (specify)                                                               $0.00
Pension or retirement income                                                                                           $0.00
Other monthly income (specify below)
    1.                                                                                                                $0.00
    2.                                                                                                                $0.00
    3.                                                                                                                $0.00
   TOTAL MONTHLY INCOME                                                                                           $1,900.00
TOTAL COMBINED MONTHLY INCOME $1,900.00                                                     (Report also on Summary of Schedules)
Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the filing of this document:
                    Case 05-45880 Document 1 Filed in TXSB on 09/29/05 Page 19 of 43
                                           UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF TEXAS
                                                   HOUSTON DIVISION
 IN RE:    Heather Jean Mickelson                                                             CASE NO

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                SCHEDULE J (CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S))

¨ Check this box if a joint petition is filed and debtor's spouse maintains a separate household. If box is checked, complete a separate
    schedule of expenditures labeled "Spouse."


Rent or home mortgage payment (include lot rental for mobile home)                                                                           $800.00
Are real estate taxes included?        ¨ Yes       þ No
Is property insurance included?        ¨ Yes       þ No
Utilities: Electricity and heating fuel                                                                                                      $175.00
           Water and sewer                                                                                                                    $35.00
           Telephone                                                                                                                          $50.00
           Other: cable/net etc.                                                                                                              $50.00
Home maintenance (repairs and upkeep)                                                                                                         $25.00
Food                                                                                                                                         $200.00
Clothing                                                                                                                                      $65.00
Laundry and dry cleaning                                                                                                                      $25.00
Medical and dental expenses (not covered by insurance)                                                                                       $100.00
Transportation (not including car payments)                                                                                                  $250.00
Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                             $100.00
Charitable contributions                                                                                                                      $10.00
Insurance (not deducted from wages or included in home mortgage payments)
         Homeowner's or renter's
         Life
         Health
         Auto
         Other:
Taxes (not deducted from wages or included in home mortgage payments)
Specify:
Installment payments: (In Chapter 12 and 13 cases, do not list payments included in the plan)
           Auto:
           Other:
           Other:
           Other:
Alimony, maintenance, and support paid to others:
Payments for support of add'l dependents not living at debtor's home:
Regular expenses from operation of business, profession, or farm (attach detailed statement)
Other:
Other:

TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                                               $1,885.00

[FOR CHAPTER 12 AND 13 DEBTORS ONLY]
Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at some other regular
interval.

A. Total projected monthly income
B. Total projected monthly expenses (including separate spouse budget if applicable)
C. Excess income (A minus B)
D. Total amount to be paid into plan each                             (interval)
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                                        UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF TEXAS
                                                HOUSTON DIVISION
 IN RE:    Heather Jean Mickelson                                                    CASE NO

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                                               SUMMARY OF SCHEDULES




                                        ATTACHED NO. OF
NAME OF SCHEDULE                                                       ASSETS                LIABILITIES          OTHER
                                        (YES/NO) SHEETS

A - Real Property                           Yes            1               $185,000.00



B - Personal Property                       Yes            4                $13,295.00



C - Property Claimed                        Yes            2
    as Exempt


D - Creditors Holding                       Yes            1                                        $236,967.00
    Secured Claims

E - Creditors Holding Unsecured
                                            Yes            1                                              $0.00
    Priority Claims

F - Creditors Holding Unsecured                            4                                         $35,651.38
                                            Yes
    Nonpriority Claims

G - Executory Contracts and
                                            Yes            1
   Unexpired Leases


H - Codebtors                               Yes            1


I - Current Income of
                                            Yes            1                                                        $1,900.00
    Individual Debtor(s)

J - Current Expenditures of
                                            Yes            1                                                        $1,885.00
   Individual Debtor(s)


                           Total Number of Sheets          17
                                 of ALL Schedules    >


                                                    Total Assets   >       $198,295.00


                                                                       Total Liabilities >          $272,618.38
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                                         UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF TEXAS
                                                 HOUSTON DIVISION
  IN RE:   Heather Jean Mickelson                                                      CASE NO

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                            DECLARATION CONCERNING DEBTOR'S SCHEDULES


                        DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of   18
sheets, and that they are true and correct to the best of my knowledge, information, and belief.




Date                                                         Signature    /s/ Heather Jean Mickelson
                                                                         Heather Jean Mickelson

Date                                                         Signature


                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
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                                               UNITED STATES BANKRUPTCY COURT
                                                  SOUTHERN DISTRICT OF TEXAS
                                                       HOUSTON DIVISION
  IN RE:     Heather Jean Mickelson                                                                 CASE NO

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                                              STATEMENT OF FINANCIAL AFFAIRS


       1. Income from employment or operation of business
None
              State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business
¨      from the beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the two years
       immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a
       calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state
       income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

        AMOUNT                      SOURCE (if more than one)
        $27,000.00                  Estimated Annual Income 2005

        $38,000.00                  Estimated Annual Income 2004

        $22,000.00                  Estimated Annual Income 2003

       2. Income other than from employment or operation of business
None
               State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
þ      during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each
       spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)


       3. Payments to creditors
None
            a. List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than $600 to any creditor,
þ      made within 90 days immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
       payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

None
              b. List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are
þ      or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


       4. Suits and administrative proceedings, executions, garnishments and attachments
None
              a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
¨      bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
        CAPTION OF SUIT AND                                                             COURT OR AGENCY                  STATUS OR
        CASE NUMBER                                    NATURE OF PROCEEDING             AND LOCATION                     DISPOSITION
        The Tremont Tower                              declaratory                      Harris County Civil              judgment within past
        Condominium Association, Inc.,                 judgment/injunction              Court at Law Number              year
        vs. Heather Jean Mickelson;                                                     Two
        Cause No. 835919

None
              b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
þ      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
              List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
þ      returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
       13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)
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                                               UNITED STATES BANKRUPTCY COURT
                                                  SOUTHERN DISTRICT OF TEXAS
                                                       HOUSTON DIVISION
  IN RE:     Heather Jean Mickelson                                                                CASE NO

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                                              STATEMENT OF FINANCIAL AFFAIRS
                                                                Continuation Sheet No. 1


       6. Assignments and receiverships
None
               a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this
þ      case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)

None
             b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding
þ      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
              List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and
þ      usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than
       $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
               List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
¨      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                   DESCRIPTION OF CIRCUMSTANCES AND, IF
        DESCRIPTION AND VALUE                      LOSS WAS COVERED IN WHOLE OR IN PART
        OF PROPERTY                                BY INSURANCE, GIVE PARTICULARS                                              DATE OF LOSS
        Dining table, nightstand, bed              Theft                                                                       7/15/04
        frame - $80.00

       9. Payments related to debt counseling or bankruptcy
None
             List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning
¨      debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the
       commencement of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYOR IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Law Office of David W. Barry                                                                   $1,000.00 inclusive of filing fee
        4151 Southwest Frwy #770
        Houston, TX 77027

       10. Other transfers
None
              List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
þ      either absolutely or as security within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
       chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
                     Case 05-45880 Document 1 Filed in TXSB on 09/29/05 Page 24 of 43
                                               UNITED STATES BANKRUPTCY COURT
                                                  SOUTHERN DISTRICT OF TEXAS
                                                       HOUSTON DIVISION
  IN RE:     Heather Jean Mickelson                                                                CASE NO

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                                              STATEMENT OF FINANCIAL AFFAIRS
                                                                Continuation Sheet No. 2


       11. Closed financial accounts
None
             List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
þ      otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial
       accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives,
       associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)


       12. Safe deposit boxes
None
              List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
þ      immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories
       of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
               List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement
þ      of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
             List all property owned by another person that the debtor holds or controls.
þ
       15. Prior address of debtor
None
              If the debtor has moved within the two years immediately preceding the commencement of this case, list all premises which the debtor
¨      occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of
       either spouse.

        ADDRESS                                                       NAME USED                                        DATES OF OCCUPANCY
        3311 Yupon, Unit 410                                          same                                             within past two
        Houston, Texas 77006                                                                                           years

        2804 90th Ave East                                            same                                             within past two
        Edgewood, WA 98371                                                                                             years

        9550 Meyer Forest, No. 736                                    same                                             within past two
        Houston, TX 77098                                                                                              years

       16. Spouses and Former Spouses
None
             If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
þ      Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-year period immediately preceding the
       commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the
       community property state.
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                                                UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF TEXAS
                                                        HOUSTON DIVISION
  IN RE:     Heather Jean Mickelson                                                                CASE NO

                                                                                                  CHAPTER         7

                                               STATEMENT OF FINANCIAL AFFAIRS
                                                                 Continuation Sheet No. 3


       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None         a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
þ      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None          b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
þ      Indicate the governmental unit to which the notice was sent and the date of the notice.



None         c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the
þ      debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.



       18. Nature, location and name of business
None
              a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
¨      ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partnership, sole
       proprietorship, or was a self-employed professional within the six years immediately preceding the commencement of this case, or in which the
       debtor owned 5 percent or more of the voting or equity securities within the six years immediately preceding the commencement of this case.

              If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
       ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within the six
       years immediately preceding the commencement of this case.

              If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
       ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within the six
       years immediately preceding the commencement of this case.

                                                                                                                   BEGINNING AND ENDING
        NAME, ADDRESS, AND TAXPAYER I.D. NUMBER                      NATURE OF BUSINESS                            DATES

        Electronic Commerce Global                                                                                 8/05 through 9/05
        20807 Patriot Park Lane                                                                                    (never used, income
        Katy, TX 77449                                                                                             $0.00)

None
             b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. Section 101.
þ
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                                                UNITED STATES BANKRUPTCY COURT
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                                               STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 4



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within the six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
       owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole
       proprietor or otherwise self-employed.

       (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
       within the six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years
       should go directly to the signature page.)


       19. Books, records and financial statements
None
             a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or
¨      supervised the keeping of books of account and records of the debtor.

        NAME AND ADDRESS                                                DATES SERVICES RENDERED
        Carol Cantrell, CPA                                             2004

None
            b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books of
þ      account and records, or prepared a financial statement of the debtor.


None
             c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of
¨      the debtor. If any of the books of account and records are not available, explain.

        NAME                                                            ADDRESS
        Debtor

None
             d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
þ      issued within the two years immediately preceding the commencement of this case by the debtor.



       20. Inventories
None
             a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
þ      and the dollar amount and basis of each inventory.


None
             b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
þ

       21. Current Partners, Officers, Directors and Shareholders
None
             a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
þ

None
              b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
þ      controls, or holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
           a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
þ      commencement of this case.
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                                               STATEMENT OF FINANCIAL AFFAIRS
                                                                 Continuation Sheet No. 5


None
             b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
þ      preceding the commencement of this case.



       23. Withdrawals from a partnership or distributions by a corporation
None
              If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any
þ      form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of
       this case.


       24. Tax Consolidation Group
None
              If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group
þ      for tax purposes of which the debtor has been a member at any time within the six-year period immediately preceding the commencement of the
       case.



       25. Pension Funds
None
            If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
þ      employer, has been responsible for contributing at any time within the six-year period immediately preceding the commencement of the case.
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                                         STATEMENT OF FINANCIAL AFFAIRS
                                                         Continuation Sheet No. 6




                     DECLARATION CONCERNING DEBTOR'S STATEMENT OF FINANCIAL AFFAIRS


     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto, consisting of         7                   sheets, and that they are true and correct.


Date                                                           Signature         /s/ Heather Jean Mickelson
                                                               of Debtor         Heather Jean Mickelson


Date                                                           Signature
                                                               of Joint Debtor
                                                               (if any)

 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C.
 Sections 152 and 3571
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   Official Form 8
   (12/03)
                                          UNITED STATES BANKRUPTCY COURT
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                      CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

1. I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.
2. I intend to do the following with respect to the property of the estate which secures those consumer debts:

    a. Property to Be Surrendered.

                     DESCRIPTION OF PROPERTY                                                       CREDITOR'S NAME

 condominium                                                            Aurora Loan Services
                                                                        601 5th Ave
                                                                        Scottsbluff, NE 69361

 condominium                                                            Aurora Loan Services
                                                                        601 5th Ave
                                                                        Scottsbluff, NE 69361

 condominium                                                            Harris County Tax Assessor
                                                                        P.O. Box 3547
                                                                        Houston, TX 77002

 condominium                                                            Houston I.S.D. Tax Office
                                                                        Tanya F. Erickson, Assessor/Collector
                                                                        P.O. Box 4668
                                                                        Houston, TX 77210-4668



    b. Property to Be Retained.                                                             [Check any applicable statement]

                                                                                                          Property will        Debt will be
Description                                                                           Property            be redeemed          reaffirmed
of                                         Creditor's                                 is claimed          pursuant to          pursuant to
Property                                   Name                                       as exempt           11 U.S.C. § 722      11 U.S.C. § 524(c)

 None
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  (12/03)
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                     CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                             Continuation Sheet No. 1


Date                                              Signature    /s/ Heather Jean Mickelson
                                                              Heather Jean Mickelson




Date                                              Signature
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                                     NOTICE TO INDIVIDUAL CONSUMER DEBTOR(S)
        The purpose of this notice is to acquaint you with the four chapters of the federal Bankruptcy Code under which you may file a
        bankruptcy petition. The bankruptcy law is complicated and not easily described. Therefore, you should seek the advice of an
        attorney to learn your rights and responsibilities under the law should you decide to file a petition with the court. Court
        employees are prohibited from giving you legal advice.


Chapter 7: Liquidation ($209.00 filing fee)
1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.

2. In a Chapter 7 case, a trustee secures for the bankruptcy estate all your assets which the trustee may obtain under the applicable provisions of
the Bankruptcy Code. You may claim certain of your property exempt under governing law. The trustee may then liquidate the non-exempt property
as necessary and uses the proceeds to pay your creditors according to priorities of the Bankruptcy Code.

3. The purpose of filing a Chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have committed certain
kinds of improper conduct described in the Bankruptcy Code, your discharge may be denied by the court, and the purpose for which you filed the
bankruptcy petition will be defeated.

4. Even if you receive a discharge, there are some debts that are not discharged under the law. Therefore, you may still be responsible for such
debts as certain taxes and student loans, alimony and support payments, criminal restitution, and debts for death or personal injury caused by
driving while intoxicated from alcohol or drugs.

5. Under certain circumstances you may keep property that you have purchased subject to a valid security interest. Your attorney can explain the
options that are available to you.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($194.00 filing fee)
1. Chapter 13 is designed for individuals with regular income who are temporarily unable to pay their debts but would like to pay them in installments
over a period of time. You are only eligible for Chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy Code.

2. Under Chapter 13 you must file a plan with the court to repay your creditors all or part of the money that you owe them, using your future
earnings. Usually, the period of time allowed by the court to repay your debts is three years, but no more than five years. Your plan must be
approved by the court before it can take effect.

3. Under Chapter 13, unlike Chapter 7, you may keep all of your property, both exempt and non-exempt, as long as you continue to make payments
under the plan.

4. After completion of payments under your plan your debts are discharged except alimony and support payments, student loans, certain debts
including criminal fines and restitution and debts for death or personal injury caused by driving while intoxicated from alcohol or drugs, and long-
term secured obligations.


Chapter 11: Reorganization ($1,039.00 filing fee)
Chapter 11 is designed primarily for the reorganization of a business but is also available to consumer debtors. Its provisions are quite complicated,
and any decision by an individual to file a Chapter 11 petition should be reviewed with an attorney.


Chapter 12: Family Farmer ($239.00 filing fee)
Chapter 12 is designed to permit family farmers to repay their debts over a period of time from future earnings and is in many ways similar to
Chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a family-owned farm.


                                                                ACKNOWLEDGEMENT

 I hereby certify that I have read this notice on this________________day of__________________________________, _______.

 /s/ Heather Jean Mickelson
Heather Jean Mickelson
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                   DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

   For legal services, I have agreed to accept:                    Hourly: Estimated Total         $1,259.00
   Prior to the filing of this statement I have received:                                          $1,000.00
   Balance Due:                                                      Hourly: Approximately           $259.00

2. The source of the compensation paid to me was:
            þ Debtor                    ¨ Other (specify)
3. The source of compensation to be paid to me is:
            þ Debtor                    ¨ Other (specify)
4. þ I have not agreed to share the above-disclosed compensation with any other person unless they are members and
     associates of my law firm.

   ¨ I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
   d. [Other provisions as needed]
   CLIENT FOR AND IN CONSIDERATION OF THE SERVICES RENDERED IN THE EXECUTION OF THE FILING OF THIS
   BANKRUPTCY HAS BEEN ADVISED THAT THE FEES DISCLOSED ARE ONLY AN ESTIMATE AND SUBJECT TO THE
   ACTUAL TIME & EXPENSES INCURRED IN THE PROSECUTION OF THE CASE.

   ATTORNEY TIME IS TO BE BILLED AT A RATE NO GREATER THAN $300.00 PER HOUR AND PARALEGAL TIME IS TO BE
   BILLED AT A RATE NO GREATER THAN $85.00 PER HOUR.
6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                                                            /s/ David W. Barry
                        Date                                David W. Barry                             Bar No. 01835200
                                                            Law Office of David W. Barry
                                                            4151 Southwest Frwy #770
                                                            Houston, TX 77027
                                                            Phone: (713) 960-9696 / Fax: (713) 961-4403
                                                            dwbarry@swbell.net
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                                         SOUTHERN DISTRICT OF TEXAS
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  IN RE:   Heather Jean Mickelson                                                  CASE NO

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                                     VERIFICATION OF CREDITOR MATRIX


     The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.



Date                                                     Signature    /s/ Heather Jean Mickelson
                                                                     Heather Jean Mickelson



Date                                                     Signature
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 Debtor(s): Heather Jean Mickelson         Case No:                               SOUTHERN DISTRICT OF TEXAS
                                            Chapter: 7                                     HOUSTON DIVISION


Heather Jean Mickelson                  Credit Management, L.P.           Linebarger, Goggan, Blair Et Al
20807 Patriot Park Lane                 0291496169 (Time Warner)          Property ID 1255950000029
Katy, TX 77449                          4200 International Parkway        P.O. Box 3064
                                        Carrollton, TX 75007-1906         Houston, TX 77253-3064


Law Office of David W. Barry            E R Solutions, Inc.               MBNA
4151 Southwest Frwy #770                3898761; 009300000654711 (WAMU)   74974389381226
Houston, TX 77027                       500 SW 7th Street, Suite A-100    P.O. Box 15026
                                        P.O. Box 9004                     Wilmington, DE    19850-5026
                                        Renton, WA 98057

Association Management, Inc.     First Premier Bank                       Money Control, Inc.
Tremont Tower, 3311 Yupon, No. 410
                                 5178-0072-9102-4347                      7137288221897 (SBC)
9575 Katy Freeway, Suite 130     601 S Minnesota Ave                      7891 Mission Grove Parkway South
Houston, TX 77024-1453           Sioux Falls, SD 57104                    Riverside, CA 92508


Aurora Loan Services                    GEXA Energy                       PHH Arval / DL Peterson Trust
3640016823148                           267632                            client 9526; unit 04178
601 5th Ave                             20 Greenway Plaza #600            Title Administration
Scottsbluff, NE 69361                   Houston, Texas                    940 Ridgebrook Road
                                                                          Sparks, MD 21152-9390

Aurora Loan Services                    Harris County Tax Assessor        Southwestern Bell/SBC
3640016879694                           1255950000029                     7137288221
601 5th Ave                             P.O. Box 3547                     Bankruptcy Services
Scottsbluff, NE 69361                   Houston, TX 77002                 P.O. Box 769
                                                                          Arlington, TX 76004

Bank of America                         Harris County Toll Road Authority Sprint PCS Customer Solutions
Bankruptcy Department                   invoice 0502396097; tag 9LGX84TX 0551334426 2
Dept. 4525                              330 Meadowfern, Suite 200         P O Box 8077
P.O. Box 53105                          Houston TX 77067-3295             London, KY 40742
Phoenix, AZ 85072-3105

Beverly Kaufman                   Hilti, Inc.                             T-Mobile, Bankruptcy
835919; Ct 2; Tremont / Mickelson 3052-609127                             8326406096
Clerk of Harris County            P.O. Box 21148                          P O Box 37380
301 Fannin, 1st Floor             Tulsa, OK 74121                         Albuquerque, NM 87176
Houston, TX 77002

Chase                                   Houston I.S.D. Tax Office        Texas Department of Public Safet
4417-1211-7247-9035                     1255950000029                    295916, 20704816A13220043225
800 Brooksedge Blvd                     Tanya F. Erickson, Assessor/Collector
                                                                         5805 North Lamar Boulevard
Westerville, OH 43081                   P.O. Box 4668                    Box 4087
                                        Houston, TX 77210-4668           Austin, TX 78773-0001

Cingular Wireless                       Houston Medical Diagnostics       The Tremont Tower
2817991325; 8324654645                  MIHE8015                          Unit 410
P O Box 650574                          7227 Fannin, Suite 102            Condominium Association, Inc.
Dallas, TX 75265-0574                   Houston, TX 77030                 2323 South Shepherd, Suite 1160
                                                                          Houston, TX 77019-7028

Citifinancial                           HSBC NV / Orchard Bank            Time Warner Communications
Bankruptcy Department                   5489-5551-1183-0735               811115 801 0153372
1111 North Point Drive                  Bankcard Services                 8400 West Tidwell
Building 4, Suite 100                   P.O. Box 80084                    Houston, TX 77040-5568
Coppell, TX 75019                       Salinas, CA 93912-0084
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Tremont Tower, L.P.
Unit 410
2323 South Shepherd, Suite 1160
Houston, TX 77019-7028


Washington Mutual
3898761; 009300000654711
P.O. Box 60800
Los Angeles, CA 90060-0800


William S. Chesney III, Esq.
Frank Elmore Lievens
Chesney & Turet, L.L.P.
808 Travis, Suite 2600
Houston, TX 77002-5778

Internal Revenue Service
P.O. Box 21126
Philadelphia, PA 19114



U.S. Department of Justice
Office of the U.S. Trustee
515 Rusk Avenue, Suite 3516
Houston, TX 77002
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                             SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

 Exemption Totals by Category:
 (Values and liens of surrendered property are NOT included in this section)                                    Scheme Selected: Federal

                                                            Gross                  Total                         Total Amount    Total Amount
 No.     Category                                   Property Value         Encumbrances      Total Equity              Exempt     Non-Exempt

 N/A     Real Property.                               $185,000.00              $236,967.00         $0.00                $0.00           $0.00

 1.      Cash on hand.                                      $80.00                   $0.00        $80.00               $80.00           $0.00

 2.      Checking, savings or other financial               $40.00                   $0.00        $40.00               $40.00           $0.00
         accounts, CD's or shares in banks...

 3.      Security deposits with public utilities,            $0.00                   $0.00         $0.00                $0.00           $0.00
         telephone companies, landlords, others.

 4.      Household goods and furnishings,                  $430.00                   $0.00       $430.00              $430.00           $0.00
         including audio, video...

 5.      Books, pictures and other art objects,             $15.00                   $0.00        $15.00               $15.00           $0.00
         antiques, stamp, coin, records....

 6.      Wearing apparel.                                  $250.00                   $0.00       $250.00              $250.00           $0.00

 7.      Furs and jewelry.                                  $15.00                   $0.00        $15.00               $15.00           $0.00

 8.      Firearms and sports, photographic                  $15.00                   $0.00        $15.00               $15.00           $0.00
         and other hobby equipment.

 9.      Interests in insurance policies.                    $0.00                   $0.00         $0.00                $0.00           $0.00

 10.     Annuities.                                          $0.00                   $0.00         $0.00                $0.00           $0.00

 11.     Interests in IRA, ERISA, Keogh...                 $800.00                   $0.00       $800.00              $800.00           $0.00

 12.     Stock and interests in incorporated...              $0.00                   $0.00         $0.00                $0.00           $0.00

 13.     Interests in partnerships....                       $0.00                   $0.00         $0.00                $0.00           $0.00

 14.     Government and corporate bonds...                   $0.00                   $0.00         $0.00                $0.00           $0.00

 15.     Accounts receivable.                                $0.00                   $0.00         $0.00                $0.00           $0.00

 16.     Alimony, maintenance, support, and                  $0.00                   $0.00         $0.00                $0.00           $0.00
         property settlement to which the.....

 17.     Other liquidated debts owed debtor...               $0.00                   $0.00         $0.00                $0.00           $0.00

 18.     Equitable or future interests, life                 $0.00                   $0.00         $0.00                $0.00           $0.00
         estates, and rights or powers.....

 19.     Contingent and noncontingent interests              $0.00                   $0.00         $0.00                $0.00           $0.00
         in estate of decedent, death benefit....

 20.     Other contingent and unliquidated              $10,000.00                   $0.00    $10,000.00            $10,000.00          $0.00
         claims of every nature.....

 21.     Patents, copyrights, and other                      $0.00                   $0.00         $0.00                $0.00           $0.00
         intellectual property.




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                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                 Continuation Sheet # 1
 Exemption Totals by Category:
 (Values and liens of surrendered property are NOT included in this section)                                         Scheme Selected: Federal

                                                              Gross                 Total                             Total Amount           Total Amount
 No.     Category                                     Property Value        Encumbrances          Total Equity              Exempt            Non-Exempt

 22.     Licenses, franchises, and other....                    $0.00                 $0.00             $0.00                   $0.00               $0.00

 23.     Automobiles, trucks, trailers, vehicles...        $1,650.00                  $0.00          $1,650.00            $1,650.00                 $0.00

 24.     Boats, motors and accessories.                         $0.00                 $0.00             $0.00                   $0.00               $0.00

 25.     Aircraft and accessories.                              $0.00                 $0.00             $0.00                   $0.00               $0.00

 26.     Office equipment, furnishings...                       $0.00                 $0.00             $0.00                   $0.00               $0.00

 27.     Machinery, fixtures used in business.                  $0.00                 $0.00             $0.00                   $0.00               $0.00

 28.     Inventory.                                             $0.00                 $0.00             $0.00                   $0.00               $0.00

 29.     Animals.                                               $0.00                 $0.00             $0.00                   $0.00               $0.00

 30.     Crops - growing or harvested.                          $0.00                 $0.00             $0.00                   $0.00               $0.00

 31.     Farming equipment and implements.                      $0.00                 $0.00             $0.00                   $0.00               $0.00

 32.     Farm supplies, chemicals, and feed.                    $0.00                 $0.00             $0.00                   $0.00               $0.00

 33.     Other personal property of any kind.                   $0.00                 $0.00             $0.00                   $0.00               $0.00

                      TOTALS:                           $198,295.00            $236,967.00         $13,295.00            $13,295.00                 $0.00


 Surrendered Property:
 The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes
 of this analysis. The below listed items are to be returned to the lienholder.

   Property Description                                                                       Market Value                      Lien               Equity

Real Property
(None)
Personal Property
(None)


                      TOTALS:                                                                         $0.00                     $0.00                $0.00


 Non-Exempt Property by Item:
 The following property, or a portion thereof, is non-exempt.

   Property Description                                                  Market Value                Lien             Equity           Non-Exempt Amount

Real Property
(None)
Personal Property
(None)


                      TOTALS:                                                     $0.00              $0.00              $0.00                       $0.00


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                                           UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF TEXAS
                                                   HOUSTON DIVISION
  IN RE: Heather Jean Mickelson                                                              CASE NO

                                                                                            CHAPTER        7

                          SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                             Continuation Sheet # 2




                                                              Summary
           A. Gross Property Value (not including surrendered property)                                        $198,295.00

           B. Gross Property Value of Surrendered Property                                                           $0.00

           C. Total Gross Property Value (A+B)                                                                 $198,295.00

           D. Gross Amount of Encumbrances (not including surrendered property)                                $236,967.00

           E. Gross Amount of Encumbrances on Surrendered Property                                                   $0.00

           F. Total Gross Encumbrances (D+E)                                                                   $236,967.00

           G. Total Equity (not including surrendered property) / (A-D)                                         $13,295.00

           H. Total Equity in surrendered items (B-E)                                                                $0.00

           I. Total Equity (C-F)                                                                                $13,295.00

           J. Total Exemptions Claimed                  (Wild Card Used: $10,120.00, Available: $105.00)        $13,295.00

           K. Total Non-Exempt Property Remaining (G-J)                                                             $0.00




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David W. Barry                    01835200
Law Office of David W. Barry
4151 Southwest Frwy #770
Houston, TX 77027
(713) 960-9696
Attorney for the Petitioner



                               UNITED STATES BANKRUPTCY COURT FOR THE
                                                 SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION

In re:                                            Case No.:
Heather Jean Mickelson                                  SSN: xxx-xx-5514
                                                        SSN:
Debtor(s)
                                             Numbered Listing of Creditors
Address:
20807 Patriot Park Lane                           Chapter:   7
Katy, TX 77449



             Creditor name and mailing address                     Category of claim   Amount of claim
1.     Association Management, Inc.                              Unsecured Claim                           $0.00
       9575 Katy Freeway, Suite 130
       Houston, TX 77024-1453
       Tremont Tower, 3311 Yupon, No. 410



2.     Aurora Loan Services                                      Secured Claim                     $186,474.00
       601 5th Ave
       Scottsbluff, NE 69361
       3640016823148



3.     Aurora Loan Services                                      Secured Claim                      $46,493.00
       601 5th Ave
       Scottsbluff, NE 69361
       3640016879694



4.     Bank of America                                           Unsecured Claim                    $11,473.00
       Bankruptcy Department
       Dept. 4525
       P.O. Box 53105
       Phoenix, AZ 85072-3105
       4427-1030-0053-1409
5.     Bank of America                                           Unsecured Claim                         $200.00
       Bankruptcy Department
       Dept. 4525
       P.O. Box 53105
       Phoenix, AZ 85072-3105
       3475175046
6.     Beverly Kaufman                                           Unsecured Claim                           $0.00
       Clerk of Harris County
       301 Fannin, 1st Floor
       Houston, TX 77002
       835919; Ct 2; Tremont / Mickelson
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 in re:    Heather Jean Mickelson
                                                   Debtor                          Case No. (if known)

               Creditor name and mailing address             Category of claim   Amount of claim
7.        Chase                                             Unsecured Claim                     $5,879.00
          800 Brooksedge Blvd
          Westerville, OH 43081
          4417-1211-7247-9035



8.        Cingular Wireless                                 Unsecured Claim                        $140.86
          P O Box 650574
          Dallas, TX 75265-0574
          2817991325; 8324654645



9.        Citifinancial                                     Unsecured Claim                     $1,332.00
          Bankruptcy Department
          1111 North Point Drive
          Building 4, Suite 100
          Coppell, TX 75019
          6032590271444506
10.       Credit Management, L.P.                           Unsecured Claim                          $0.00
          4200 International Parkway
          Carrollton, TX 75007-1906
          0291496169 (Time Warner)



11.       E R Solutions, Inc.                               Unsecured Claim                          $0.00
          500 SW 7th Street, Suite A-100
          P.O. Box 9004
          Renton, WA 98057
          3898761; 009300000654711 (WAMU)


12.       First Premier Bank                                Unsecured Claim                        $330.00
          601 S Minnesota Ave
          Sioux Falls, SD 57104
          5178-0072-9102-4347



13.       GEXA Energy                                       Unsecured Claim                        $400.00
          20 Greenway Plaza #600
          Houston, Texas
          267632



14.       Harris County Tax Assessor                        Secured Claim                       $2,000.00
          P.O. Box 3547
          Houston, TX 77002
          1255950000029



15.       Harris County Toll Road Authority                 Unsecured Claim                          $0.00
          330 Meadowfern, Suite 200
          Houston TX 77067-3295
          invoice 0502396097; tag 9LGX84TX




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 in re:    Heather Jean Mickelson
                                                    Debtor                          Case No. (if known)

                Creditor name and mailing address             Category of claim   Amount of claim
16.       Hilti, Inc.                                        Unsecured Claim                          $1.00
          P.O. Box 21148
          Tulsa, OK 74121
          3052-609127



17.       Houston I.S.D. Tax Office                          Secured Claim                       $2,000.00
          Tanya F. Erickson, Assessor/Collector
          P.O. Box 4668
          Houston, TX 77210-4668
          1255950000029

18.       Houston Medical Diagnostics                        Unsecured Claim                     $1,950.00
          7227 Fannin, Suite 102
          Houston, TX 77030
          MIHE8015



19.       HSBC NV / Orchard Bank                             Unsecured Claim                        $292.00
          Bankcard Services
          P.O. Box 80084
          Salinas, CA 93912-0084
          5489-5551-1183-0735

20.       Linebarger, Goggan, Blair Et Al                    Unsecured Claim                          $0.00
          P.O. Box 3064
          Houston, TX 77253-3064
          Property ID 1255950000029



21.       MBNA                                               Unsecured Claim                   $10,471.00
          P.O. Box 15026
          Wilmington, DE 19850-5026
          74974389381226



22.       Money Control, Inc.                                Unsecured Claim                          $0.00
          7891 Mission Grove Parkway South
          Riverside, CA 92508
          7137288221897 (SBC)



23.       PHH Arval / DL Peterson Trust                      Unsecured Claim                        $112.50
          Title Administration
          940 Ridgebrook Road
          Sparks, MD 21152-9390
          client 9526; unit 04178

24.       Southwestern Bell/SBC                              Unsecured Claim                        $150.00
          Bankruptcy Services
          P.O. Box 769
          Arlington, TX 76004
          7137288221


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 in re:    Heather Jean Mickelson
                                                    Debtor                          Case No. (if known)

                Creditor name and mailing address             Category of claim   Amount of claim
25.       Sprint PCS Customer Solutions                      Unsecured Claim                        $223.58
          P O Box 8077
          London, KY 40742
          0551334426 2



26.       Sprint PCS Customer Solutions                      Unsecured Claim                         $33.17
          P O Box 8077
          London, KY 40742
          0551334426 2



27.       T-Mobile, Bankruptcy                               Unsecured Claim                        $955.75
          P O Box 37380
          Albuquerque, NM 87176
          8326406096



28.       Texas Department of Public Safety                  Unsecured Claim                     $1,040.00
          5805 North Lamar Boulevard
          Box 4087
          Austin, TX 78773-0001
          295916, 20704816A13220043225

29.       The Tremont Tower                                  Unsecured Claim                          $1.00
          Condominium Association, Inc.
          2323 South Shepherd, Suite 1160
          Houston, TX 77019-7028
          Unit 410


30.       Time Warner Communications                         Unsecured Claim                        $461.46
          8400 West Tidwell
          Houston, TX 77040-5568
          811115 801 0153372



31.       Tremont Tower, L.P.                                Unsecured Claim                          $0.00
          2323 South Shepherd, Suite 1160
          Houston, TX 77019-7028
          Unit 410



32.       Washington Mutual                                  Unsecured Claim                        $205.06
          P.O. Box 60800
          Los Angeles, CA 90060-0800
          3898761; 009300000654711



33.       William S. Chesney III, Esq.                       Unsecured Claim                          $0.00
          Frank Elmore Lievens
          Chesney & Turet, L.L.P.
          808 Travis, Suite 2600
          Houston, TX 77002-5778
          Case #835919; HCCL#2

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in re:   Heather Jean Mickelson
                                                          Debtor                                                                  Case No. (if known)

(The penalty for making a false statement or concealing property is a fine of up to $500,000 or imprisonment for up to 5 years or both.
 18 U.S.C. secs. 152 and 3571.)
                                                                 DECLARATION
 I, Heather Jean Mickelson                                                                                                                          ,
 named as debtor in this case, declare under penalty of perjury that I have read the foregoing Numbered Listing of Creditors,
                  5
 consisting of ______   sheets (including this declaration), and that it is true and correct to the best of my information and belief.
 the best of my information and belief.


     Debtor: /s/ Heather Jean Mickelson                                                    Date:
            Heather Jean Mickelson




              CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (see 11 U.S.C. § 110)


    I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110, that I prepared this document for compensation, and that I have
    provided the debtor with a copy of this document.


    ___________________________________________________                                       _________________________________
    Printed or Typed Name of Bankruptcy Petition Preparer                                     Social Security Number



    ___________________________________________________

    ___________________________________________________
    Address

    Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:

   If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Forms for each person.




                                                                                                                                        Page 5
